                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA
          COURT CASE NUMBER: 4:15CR3098; NOTICE OF FORFEITURE

       Notice is hereby given that on November 19, 2015, in the case of U.S. v. US v.
Corey Lavigne, Court Case Number 4:15CR3098, the United States District Court for
the District of Nebraska entered an Order condemning and forfeiting the following
property to the United States of America:

    2007 Silver Jeep Wrangler (VIN: 1J4GA391X7L21l749) registered/purchased by
    COREY J. LAVIGNE on or about November 23, 2013 (15-IRS-001033).
    $4,123.22 of proceeds contained in account number XXXXX1088 in the name of
    and/or for the benefit of COREY J. LA VIGNE at First National Bank of Omaha,
    1620 Dodge Street, Omaha, NE (15-IRS-001034) which was seized from Corey
    Lavigne on April 23, 2015

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file a Petition within 60 days of the first date of publication (December 05,
2015) of this Notice on this official government internet web site, pursuant to Rule 32.2
of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The petition
must be filed with the Clerk of the Court, 111 South 18th Plaza, Suite 1152, Omaha, NE
68102, and a copy served upon Assistant United States Attorney Nancy Svoboda, 1620
Dodge Street, Suite 1400, Omaha, NE 68102-1506. The petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of
the petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

         Following the Court’s disposition of all petitions filed, or if no such petitions are
filed, following the expiration of the period specified above for the filing of such
petitions, the United States shall have clear title to the property and may warrant good
title to any subsequent purchaser or transferee.
